    Case: 1:23-cv-06614 Document #: 97 Filed: 01/23/24 Page 1 of 3 PageID #:3306




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

                                                   )
  SIU SHONG TSANG,                                 )
                                                   )
                    Plaintiff,                     )           Civil Action No. 1:23-cv-6614
          v.                                       )                   (MMR)(JIC)
                                                   )
  THE INDIVIDUALS,                                 )
  CORPORATIONS, LIMITED                            )
  LIABILITY COMPANIES,                             )           JURY TRIAL DEMANDED
  PARTNERSHIPS, AND                                )
  UNINCORPORATED ASSOCIATIONS                      )
  IDENTIFIED ON SCHEDULE A TO                      )
  THE COMPLAINT,                                   )
                                                   )
                    Defendants.                    )



                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff hereby

dismisses with prejudice all causes of action in the Amended Complaint against defendant Doe 4

in the above-captioned action, BincaBom, (hereinafter, “Defendant”). Each party shall bear their

own attorney’s fees and costs. Defendant has not filed an answer or a motion for summary

judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule

41(a)(1)(A)(i) is appropriate.

Date: January 23, 2024                                 Respectfully submitted,

                                                       /s/ Theodore J. Chiacchio
                                                       Theodore J. Chiacchio (Bar No. 6332547)
                                                       CHIACCHIO IP, LLC
                                                       307 North Michigan Avenue, Suite 2011
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                                                       Email: tchiacchio@chiacchioip.com

                                                       By: /s/ Shengmao Mu
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Case: 1:23-cv-06614 Document #: 97 Filed: 01/23/24 Page 2 of 3 PageID #:3307




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                                         Counsel for Plaintiff




                                     2
   Case: 1:23-cv-06614 Document #: 97 Filed: 01/23/24 Page 3 of 3 PageID #:3308




                               CERTIFICATE OF SERVICE

      I hereby certify that on January 23, 2024, I electronically filed the foregoing with the Court

using the CM/ECF system.


                                                           /s/Theodore J. Chiacchio_______
                                                              Theodore J. Chiacchio




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